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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                           §
                                                 §     CASE NO. 22-31641-mvl7
GOODMAN NETWORKS, INC.                           §
D/B/A GOODMAN SOLUTIONS,                         §     CHAPTER 7
                                                 §
               Debtor.                           §

                                       AMENDED
                              VERIFICATION OF MAILING LIST

          The Debtor certifies that the attached mailing list is amended as follows:

                  is the first mail matrix in this case.

                  adds entities not listed on previously filed mailing list(s).

                  changes or corrects name(s) and address(es) on previously filed mailing list(s).

                  deletes name(s) and address(es) on previously filed mailing list(s).

        Debtor is diligently working towards finalizing Schedules D, E/F, G, and H. Thus, Debtor’s
 review of its records is ongoing; Debtor will amend and/or supplement this list as necessary. In
 accordance with N.D. TX L.B.R. 1007.1, the above named Debtor(s) hereby verifies that the
 attached list of creditors is true and correct.



   Date                                               John Goodman, Consultant /Title

    12/27/2022                                        /s/ David W. Parham
   Date                                               David W. Parham 15459500
                                                      Akerman LLP
                                                      2001 Ross Avenue, Suite 3600
                                                      Dallas, TX 75201
                                                      (214) 720-4300
                                                      david.parham@akerman.com

                                                      * 9460
                                                      Debtor's Social Security/Tax ID No.




 67965848;1
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                      1099 Pro LLC
                      23901 Calabasas Rd
                      Suite 2080
                      Calabasas, CA 91302

                      45700 Twelve Mile LLC
                      c/o Nicholas J. Bachand
                      2411 Vinewood
                      Detroit, MI 482165

                      Alabama Secretary of State
                      PO Box 5616
                      Montgomery, AL 36103-5616

                      Alabama Dept of Revenue
                      50 N Ripley St.
                      Montgomery, AL 36130

                      Arizona Dept of Revenue
                      1600 W Monroe St.
                      Phoenix, AZ 85007

                      Arizona Secretary of State
                      400 W Congress St, Ste 141
                      Tucson, AZ 85701

                      Birmingham Finance Dept
                      716 Richard Arrington Jr Blvd N
                      Birmingham, AL 35203

                      City of Portland
                      111 SW Columbia St, Ste. 600
                      Portland, OR 97201-5840

                      Connor Lee & Shumaker
                      609 Castle Ridge Rd., Ste 450
                      Austin, TX 78746
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                      Department of Treasury/IRS
                      PO Box 1214
                      Charlotte, NC 28201-1214

                      Dominion Energy
                      PO Box 27463
                      Richmond, VA 23261

                      Donlen LLC
                      3000 Lakeside Dr.
                      2nd floor
                      Bannockburn, IL 60015

                      Ferguson Braswell Fraser Kubasta
                      2500 Dallas Pkwy, Ste 600
                      Plano, TX 75093


                      Hall 2801 Network Associates, LLC
                      6801 Gaylord Pkwy, Ste 406
                      Frisco, TX 75034


                      Homer Escamilla
                      8618 Kallison Arbor
                      San Antonio, TX 78254

                      Illinois Dept of Revenue
                      9511 Harrison St.
                      Des Plaines, IL 60016

                      Illinois Secretary of State
                      213 State Capitol
                      Springfield, IL 62756

                      Kansas City Finance Dept
                      701 N 7th St, Ste 330
                      Kansas, KS 66101
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                      Kansas Department of Revenue
                      915 SW Harrison St, Ste 300
                      Topeka, KS 66612

                      Kansas Secretary of State
                      1420 C of E Dr, Ste 6
                      Emporia, KS 66801

                      Katz Korin Cunningham
                      Attorneys at Law
                      The Emelie Bldg, 334 N Senate Ave
                      Indianapolis, IN 46204

                      Kentucky Secretary of State
                      700 Capital Ave, Ste 152
                      Frankfort, KY 40601

                      Kentucky Dept of Revenue
                      501 High St
                      Frankfort, KY 40601

                      Lamont Hanley & Associates
                      1138 Elm Street
                      Manchester, NH 03105-0179

                      Paducah Finance Dept
                      300 S 5th St
                      Paducah, KY 42003

                      Louisiana Secretary of State
                      3851 Essen Ln
                      Baton Rouge, LA 70809

                      Louisiana Dept of Revenue
                      617 North Third Street
                      Baton Rouge, LA 70821
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                      Michigan Dept of Revenue
                      430 W Allegan St
                      Lansing, MI 48933

                      Michigan Secretary of State
                      7090 Sashabaw Rd
                      Clarkston, MI 48348

                      Montana Dept of Revenue
                      125 N Roberts St
                      Helena, MT 59601

                      Montana Secretary of State
                      1301 E 6th Ave, Ste 2
                      Helena, MT 59601

                      New Hampshire Dept of Revenue
                      109 Pleasant St
                      Concord, NH 03301

                      New Hampshire Secretary of State
                      107 N Main St
                      Concord, NH 03301

                      New Mexico Dept of Revenue
                      1100 South St. Francis Dr.
                      Santa Fe, NM 87504-0630

                      New Mexico Secretary of State
                      325 Don Gaspar Av, Ste 300
                      Santa Fe, NM 87501

                      New York Dept of Revenue
                      One Commerce Plaza
                      99 Washington Ave
                      Albany, NY 12231-0001
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                      New York Secretary of State
                      123 William St., Ste 2
                      New York, NY 10038

                      Richmond Finance Dept
                      900 E Broad St, Ste 103
                      Richmond, VA 23219

                      New Jersey Dept of Revenue
                      50 Barrack Street, 1st Floor Lobby
                      Trenton, NJ 08695

                      New Jersey Secretary of State
                      125 W Sate St
                      Trenton, NJ 08608

                      Rhode Island Dept of Revenue
                      1 Capitol View Ave
                      Providence, RI 02908

                      Rhode Island Secretary of State
                      82 Smith St
                      Providence, RI 02903

                      Russell F. Nelms
                      115 Kay Lay
                      Westworth Village, TX 76114


                      SG Risk, LLC
                      1050 Wall Street West, Ste 202
                      Lyndhurst, NJ 07071

                      Shelby County, TN
                      157 Poplar Ave., 2nd Floor
                      Memphis, TN 38103
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                      South Carolina Secretary of State
                      1205 Pendleton St, Ste 525
                      Columbia, SC 29201

                      State of Texas
                      105 W 16th
                      Austin, TX 78701

                      State of Utah
                      160 East 300 South, 2nd Floor
                      Box 146705
                      Salt Lake City, UT 84114-6701

                      Stephanie Elmore
                      2516 Wichita TRL
                      Sanger, TX 76266

                      Tennessee Secretary of State
                      312 Rosa L. Parks Ave
                      6th Floor, Snodgrass Tower
                      Nashville, TN 37243-1102

                      Tennessee Dept of Revenue
                      500 Deaderick St.
                      Nashville, TN 37242

                      Texas Comptroller
                      6320 Southwest Blvd
                      Benbrook, TX 76109

                      Texas Secretary of State
                      PO Box 13697
                      Austin, TX 78711-3697

                      Timothy J McManus
                      1650 Fillmore Street, Ste 1907
                      Denver, CO 80206
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                      Uline
                      PO Box 88741
                      Chicago, IL 60680-1741

                      Utah State Tax Commission
                      210 N 1950 W
                      Salt Lake City, UT 84134-0700

                      Utah Secretary of State
                      160 East 300 South, 2nd Floor
                      Salt Lake City, UT 84111

                      Utah Department of Revenue
                      210 N 1950 W
                      Salt Lake City, UT 84134


                      Virginia Dept of Revenue
                      1957 Westmoreland Street
                      Richmond, VA 23230


                      Virginia State of Corporation
                      PO Box 1197
                      Richmond, VA 23218


                      Virginia Secretary of State
                      1111 E Broad St., Ste 4
                      Richmond, VA 23219


                      West Virginia Dept of Revenue
                      1900 Kanawha Blvd E
                      Charleston, WV 25305
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                      West Virginia Secretary of State
                      1900 Kanawha Blvd E,
                      Rm 1 Ste 175k
                      Charleston, WV 25305


                      Xerox Business Solutions
                      Lockbox Services, #205354
                      2975 Regent Blvd
                      Irving, TX 75063
